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RBC Dain Rauscher Wealth Oo _ ot
Accumulation Plan Retirement Savings Statement

STEVEN BENHAYON = Customer Service: (866) 697-
313 SAN YSIDRO ROAD 1002 at
MONTECITO, CA 93108- Fidelity Investments Institutional

Operations Company, Inc.
82 Devonshire Street
Boston, MA 02109

 

Your Account Summary Statement Period: 01/01/2007 to 12/31/2007
Beginning Balance $1,404,301.24
Employer Contributions $13,026.06
Dividends and Interest $46,820.40
Withdrawal ~$1,161,876.79
Fees / ~$688.15
Change in Market Value $32,637.27
Ending Balance $334,220.03

This plan represents a non-qualified plan that is "unfunded" for tax purposes. Any account and/or
balances represented here are bookkeeping entries that measure the plan sponsor's obligation to
you. Neither you nor the plan hold actual balances in the funds listed in this plan.

 

 

“Your Personal Rate of Return’ |

        

Your Personal Rate of Return is calculated with a time-weighted formula, widely used by, | ~
financial analysts to calculate investment earnings. it reflects the results of your irivestment

selections as well as any activity in the plan account(s) shown. There are other Personal Rate
of Return formulas used that may.yield different results. Remember that past performance is

no guarantee of future results.”

 

 

 

 

Your Asset Allocation’ © __ Statement Périod: "01/01/2007 to 12/31/2007

Your account is allocated among the asset classes specified above as of 12/31/2007.
Percentages and totals may not be exact due to rounding.

The Additional Fund Information section lists the underlying allocation of your blended funds.

 

Market Value of Your Account: =——_—_—sStatement Period: 01/01/2007 to 12/31/2007

 

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Displayed are the beginning and ending values of your account in dollars, and either shares of
mutual funds or Company Stock.

 

 

, Shares Shares Price Price Market Value oe
Investment as of as of as of as of asof -
42/34/2008 12/31/2007 12/31/2006 12/31/2007 42/31/2006
Stock Investments $55,008.54
RBC Share Account 1,154.429  1,193.128 347.65 $51.04 $55,008.54
Blended Fund Investments* $606,690.09
AF Balanced Fund A 31,897.482  3,884.649 $19.02 $19.34 $606,690.09
Bond Investments $742,602.61
RBC interest Account  742,602.610 198,310.210 $1.00 $1.00 $742,602.61
Account Totals mo, $1,404,301.24

Remember that a dividend payment to fund shareholders reduces the share price of the fund, so a
decrease in the share price for the statement period does not necessarily reflect lower fund
performance.

*You have invested a portion of your account in Blended Funds. Blended Funds generally invest in
a mixture of stocks, bonds and short-term investments, blending long-term growth from stocks
with income frorn dividends and interest. Please refer to the Additional Fund Information section to
see how your blended funds are allocated across the three asset classes.

 

 

 

 

 

 

 

 

 

 

 

Market Value by Plan Year — " " Statement Period: 01/01/2007 to 12/31/2007
This section displays the Market Value of your account by Year of Deferral. )
Plan Contribution Distribution Distribution Market Value on Effective
Year Source Election Type 42/31/2007 Date
2003 Ficm WAP Bonus Election Unknown Unknown
2003 Ficm WAP Bonus $117,787.91

2003 Employer Match 4YR Cliff. Election Unknown Unknown
2003 Employer Match 4YR Cliff $60,897.25

2003 Total , $178,685.16

2004 Ficm WAP Bonus 2009 Lump Sum Current
2004 Ficm WAP Bonus $89,702.36

2004 Total $89,702.36

2005 Ficm WAP Bonus 2010 Lump Sum Current
2005 Ficm WAP Bonus $52,082.62

2005 Total $52,082.62

2006 Ficm WAP Bonus 2011 Lump Sum Current
2006 Ficm WAP Bonus $13,749.89

2006 Total $13,749.89

 

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Total Market Value $334,220.03

 

 

_ Market Value of Distributions — _ Statefnént Pefiod: 01/01/2007 to’ 12/31/2007

This section displays the current Market Value of your account by distribution election.

 

 

 

 

 

 

Distribution Year: Funds: Shares On: Price On: = Market Value: Total Market Value:
42/31/2007 12/31/2007 12/31/2007 12/31/2007
2009
Lump Sum AF Balanced Fund A 1,208.199 $19.31 $23,330.32
Lump Sum RBC Interest Account 66,372.040 $1.00 $66,372.04
$89,702.36
2010
Lump Sum AF Balanced Fund A 698.361 $19.34 $13,485.36
Lump Sum RBC Interest Account 38,597.260 $1.00 $38,597.26
‘ $52,082.62
2011
Lump Sum AF Balanced Fund A 358.004 $19.31 $6,913.05
Lump Sum RBC Interest Account 6,836.840 $1.00 $6,836.84
$13,749.89
Other Acct Holdings
AF Balanced Fund A 4,620.085 $19.31 $31,283.84
RBC Interest Account 86,504.070 $1.00 $86,504.07
RBC Share Account 1,193.128 $51.04 $60,897.25
$178,685.16
Total Market Value: $334,220.03
Your Contribution Elections aS of st” AS of
2 7 : , : -12/01/2008

This section displays the funds in which your future contributions will be
invested.

Your Current Investment Elections as of 12/01/2008

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sf Due to plan rules your contribution elections for this
 source/source group are restricted.

   

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Your Contribution Summary

- Statement Period: 01/01/2007 to 12/31/2007

 

wags Employee Employer Match Pre-2005 Vested
Contributions Voluntary 4YR Cliff Ficm WAP Bonus Contrib
Period to date $0.00 $0.00 $13,026.06 $0.00
Total Account Balance $0.00 $60,897.25 $273,322.78 $0.00
Total Vested Balance 40.00 $0.00 $0.00 $0.00

 

Your Account Activity

Statemént Périod: 61/01/2007 to 12/31/2007

Use this section as a summary of transactions that occurred in your account during the

statement period.

 

 

 

Activity AF Balanced RBC Interest RBC Share
Fund A Account Account
Beginning Balance $606,690.09 $742,602.61 $55,008.54
Employer Contributions $6,513.03 $6,513.03 $0.00
Dividends and Interest $11,992.60 $32,829.23 $1,998.57
Withdrawal -$578,267.24 -$583,609.55 $0.00
Fees ~$659.49 -$25.11 -$3.55
Change in Market Value $28,743.58 $0.00 $3,893.69
Ending Balance $75,012.57 $198,310.21 $60,897.25 41390,03

  

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Additional Fund Information. a a As of 12/01/2008
Use this section to determine the asset allocation of your blended investments.

Blended Investment . Stocks Bonds Short Term

 

AF Balanced Fund A 62.00% 30.00% 8.00%

Blended investments generally invest in more than one asset class. The blended investment asset
allocation above reflects the stated neutral mix or, .if not available, the asset mix reported by
Morningstar, Inc. for mutual funds or by investment managers for non-mutual funds. ‘

 

 

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